       Case 1:21-cr-00078-RCL Document 31 Filed 06/02/21 Page 1 of 9




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA




     v.                                        21-cr-78(EGS)




JOHN SULLIVAN
           REPLY TO OPPOSITION TO MOTION TO DISCHARGE
                      SEIZURE WARRANT

I. Defendant’s Motion is Based Exclusively on the Fifth Amendment
Right to Due Process and not the Sixth Amendment Right to Counsel
     Defendant does not seek discharge of the seizure Order in order for

him to retain counsel. Thus, his motion is not based upon a claim pursuant

to the Sixth Amendment to the United States Constitution. Rather, his

argument is based upon the Fifth Amendment right to due process of law.

The government’s arguments concerning the Sixth Amendment should be

disregarded.

II. Defendant should have the benefit of a pretrial due process hearing
to determine whether the seized assets should be released.

      In E-Gold v. United States 521 F. 3d 411 (D.C. 2008), the D.C.

Circuit determined that “[i]n ascertaining the requirements of the due

process clause in affording a hearing to those who whose assets are the

                                      1
         Case 1:21-cr-00078-RCL Document 31 Filed 06/02/21 Page 2 of 9




subject of seizure,” the Court must “look first to the Supreme Court’s

declarations in Matthews v. Eldridge.” (internal citations omitted).1

      E-Gold, cited by the United States, involved corporate defendants

charged with operating an unlicensed money transmitting business. Based

upon the indictment, the government obtained an ex parte seizure warrant

obtaining funds in accounts of the named defendants. A request was made

to discharge the seizure order and a request for an evidentiary hearing was

made. The grounds for the motion were based upon the Fifth Amendment

and the Sixth Amendment to the United States Constitution. The district

court denied the requests. An interlocutory appeal was filed and the D.C.

Circuit vacated the order of the district court.

      The E-Gold Court concluded that the issue was one of first

impression in this jurisdiction and ruled that “[a] fundamental norm of the

due process clause jurisprudence requires that before the government can

constitutionally deprive a person of the protected liberty or property interest,

it must afford him notice and hearing.” Id., 314, citing National Council of

Resistance v. Dep’t of State, 251 F.3d 192, 205 (D.C. 2001); Matthews v.

Eldridge, 424 U.S. 319, 334-35 (1976).


1
  Matthews v. Eldridge, 424 U.S. 319 (1976) held that “Due Process is flexible and calls
for such procedural protections as the particular situation demands.” citing Morrissey v.
Brewer, 408 U.S. 471 (1972).
                                            2
           Case 1:21-cr-00078-RCL Document 31 Filed 06/02/21 Page 3 of 9




      Defendant acknowledges that a portion of E-Gold was abrogated by

Kaley v. United States, 571 U.S. 320 (2014) wherein the Supreme Court

concluded that a pretrial hearing is not necessary within the context of a

Sixth Amendment claim and where probable cause has been established

by an indictment. However, the Kaley opinion was limited to one area of

inquiry when probable cause has been established. “This case raises the

question whether an indicted individual has a constitutional tight to contest

the grand jury’s prior determination of that matter.” Id. 324.

      In general, and specifically in this case, there is a two-part inquiry that

must be satisfied including a determination of the source of the seized

funds.

              That determination [related to pretrial forfeiture of assets]
              has two parts, reflecting the requirements for forfeiture
              under federal law. There must be probable cause to think
              (1) that the defendant has committed an offense permitting
              forfeiture, and (2) that the property at issue has the requisite
              connection to the crime.

Id. 323-24.

      Kaley is therefore limited to situations involving challenges only to the

first inquiry, probable cause. “[T]he Kaleys cannot challenge the grand

jury’s conclusion that probable cause supports the charges against them.”

Id. 341.



                                         3
        Case 1:21-cr-00078-RCL Document 31 Filed 06/02/21 Page 4 of 9




       Chief Judge Roberts, writing in dissent to the Kaley majority, noted

that “[t]he Solicitor General concedes—and all Courts of Appeals to have

considered the issue have held—that defendants are entitled to show that

the assets that are restrained are not actually the proceeds of the charged

criminal offense; that is, that the second prong of the required showing is

not satisfied…If the Kaleys are to have any opportunity to meaningfully

challenge that deprivation, they must have it before the trial begins.” Id.

357.

       Other federal circuits have resolved the issue in favor of a pretrial

hearing related to seizure of assets. In United States v. Moss, a challenge

was made to a pretrial seizure of assets for legal and living expenses.

Citing Mathews v. Eldridge, 424 U.S. 319 (1976) the 10th Circuit held,

             To determine whether due process requires some form
             of a post-restraint, pretrial hearing we consider the private
             interest affected by the restraint; the risk of an erroneous
             deprivation of that interest through the procedures used,
             as well as the probative value of an adversarial hearing;
             and the government’s interest, including the administrative
             burden that an adversarial hearing would impose.

160 F.3d 641, 645 (10th Cir. 1998).

       Following consideration of the factors articulated above, the Moss

Court ruled in favor of the defendant. “Also, of importance is [defendant’s]

interest in paying for ordinary and necessary expenses (food, shelter, and


                                        4
          Case 1:21-cr-00078-RCL Document 31 Filed 06/02/21 Page 5 of 9




the like) until the conclusion of the trial. A restraining order that prevents a

defendant from supporting herself and her family pending and during trial

would likely work an injustice with constitutional implications.” Id. 646,

citations omitted.

III. Defendant has a particularized need for assets to pay for his
personal necessities of life and should not be deprived access to his
resources pending trial.

      This matter is by all accounts a complex proceeding with a vast

amount of discovery to be produced and reviewed by defendant with

counsel. There will be numerous pretrial motions that will require thorough

briefing and argument. The government has indicated there are thousands

of hours of videotape discovery as well as other discovery to be produced.

Accordingly, it is not expected that this matter will be tried in the near

future.

      Defendant is young man with no criminal record who has legally

supported himself in the past. However, similarly to all adults, defendant

has monthly expenses that he must meet. The continued restraint on

defendant’s bank assets will prevent him from satisfying his monthly

financial obligations. The following is a summary of defendant’s monthly

financial responsibilities:

1. Rent: $2,100.00


                                        5
        Case 1:21-cr-00078-RCL Document 31 Filed 06/02/21 Page 6 of 9




2. Water: $100.00

3. Electric: $100.00

4. Automobile: $700.00

5. Automobile insurance: $150.00

6. Food: $600.00

7. Entertainment: $250.00

8. Shopping: $100.00

9. Subscription: $250.00

10. Savings: $150.00

11.Self care: $300.00

Total monthly expenses:4,800.00

       Defendant’s sources of income other than from the sale of videotape

of the January 6, 2021 event includes as follows:

    1. Google deposits

    2. 401 K Deposits

    3. Severance pay from prior employer (Proofpoint)

    4. Priority 1 Logistics payouts2




2
  Attached to this pleading is Exhibit #1 which is an endorsed declaration from
defendant confirming the monthly expenses and other sources of income described
herein.
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         Case 1:21-cr-00078-RCL Document 31 Filed 06/02/21 Page 7 of 9




IV. Chief Judge Beryl Howell ordered relief to a defendant who sought
discharge of a pre-trial seizure of assets based upon household need

      The United States is correct in its assertion that “no decision of the

Supreme Court or D.C. Circuit, or by any judge of this Court, has ever

required a pretrial evidentiary hearing based on a claimed need to pay

household expenses.” Gov’t opposition, page 14. However, Chief Judge

Beryl Howell did order a partial discharge of a seizure warrant based upon

a Fifth Amendment due process claimed need for household expenses.3

      Michael Bikundi v. United States, 14-00030-BAH, 2016 WL 912169,

was a multiple count, multiple indictment charging, inter alia, conspiracy to

commit health care fraud in violation of 18 U.S.C. § 1347. The case

involved the misappropriation of 80 million dollars in funds from Medicaid.

Defendant requested a pretrial hearing to challenge the seizure of his

assets from multiple bank accounts. The Court denied the request for an

evidentiary hearing but did partially grant the motion.

      Bikundi was not seeking funds to pay for counsel. Rather, as is the

situation herein, his request was exclusively for release of funds to pay

household expenses.4 BIkundi requested discharge of funds in order to pay

3
  The Order was entered based upon the pleadings. A pre-trial hearing was not
required.
4
  Chief Judge Howell noted that Bikundi’s motion “squarely raises an issue left
unresolved by the Supreme Court in both the Kaley and Monsanto opinions, and by the
D.C. Circuit in E-Gold, regarding an indicted defendants’ entitlement to pre-trial review
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         Case 1:21-cr-00078-RCL Document 31 Filed 06/02/21 Page 8 of 9




utility bills and other household expenses. He had to rely on borrowed

funds and was unable to pay his children’s preschool education. Citing

Kaley v. United States, Chief Judge Howell determined, “[h]e has

demonstrated a substantial need for the funds at issue to provide for

household necessities. The Court is not persuaded that the defendant’s

showing is insufficient to warrant some procedural safeguard to reduce the

risk of erroneous deprivation.” Id. page 15.

       In Bikundi the Court made specific findings and ordered a sum certain

of amount funds released in support of defendant’s claims that the funds

were necessary for household expenses.

       In conclusion, defendant submits that has demonstrated an adequate

and specific identification of funds that are necessary to be used for

essential household expenses. In addition, defendant has sources of

income that are independent of the events of January 6, 2021. Accordingly,

Defendant respectfully prays this Honorable Court for an evidentiary

hearing to determine whether to discharge the seizure warrant.




of the forfeitability, or traceability, of assets seized pursuant to a probable cause
warrant—which probable cause finding in this case is bolstered by a grand jury
finding—when no Sixth Amendment right to counsel is implicated.” Id., page 12,
(emphasis supplied).
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       Case 1:21-cr-00078-RCL Document 31 Filed 06/02/21 Page 9 of 9




                                  Respectfully submitted,

                                  ______/s/__________________
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                      CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and accurate copy of the foregoing
was served upon Assistant U.S. Attorney, Candice Wong, Esquire, via the
Court’s electronic filing system on this the 2nd day of June 2, 2021.


                                  ______/s/_________________
                                  Steven R. Kiersh




                                     9
